


  LEWIS, J.
 

  We have for review
  
   Barnes v. State,
  
  969 So.2d 1117 (Fla. 5th DCA 2007), in which the Fifth District Court of Appeal certified a question of great public importance. We have jurisdiction.
  
   See
  
  art. V, § 3(b)(4), Fla. Const.
 

  We stayed proceedings in this case pending our disposition of
  
   Martinez v. State,
  
  981 So.2d 449 (Fla.2008). When our decision in
  
   Martinez
  
  became final, we issued an order directing respondent to show cause why we should not exercise jurisdiction, quash the
  
   Barnes
  
  decision, and remand for reconsideration in light of our decision in
  
   Martinez.
  
  Upon consideration of the responses of the parties, we have determined to do so.
 

  We accordingly grant the petition for review in the present case. The decision under review is quashed, and this matter is remanded to the Fifth District Court of Appeal for reconsideration upon application of this Court’s decision in
  
   Martinez.
  


  It is so ordered.
 

  QUINCE, C.J, WELLS, PARIENTE, CANADY, and POLSTON, JJ, and ANSTEAD, Senior Justice, concur.
 
